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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                            Case NO.: 6:22-cv-02202-CEM-EJK


   Tamara R. Hatcher,
   and other similarly situated individuals,

          Plaintiff (s),
   v.

   Sojourn Ventures LLC,
   Leon Harbor LLC,
   Sunken Treasures LLC,
   and Mandy Thomas, individually

        Defendants.
   _______________________________/

             MOTION FOR EXTENSION OF TIME TO
   FILE PLAINTIFF’S ANSWERS TO COURT INTERROGATORIES

   Plaintiff Tamara R. Hatcher by and through undersigned counsel, hereby

files this Motion for Extension of Time to Plaintiff’s Answers to Court

Interrogatories and respectfully state as follows:

   1. On or about January 26, 2023, the Court issued an Order requiring,

        inter alia, that Plaintiff’s Answer to Court Interrogatories be filed by

        March 9, 2023 [D.E. 11].




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  2. Because the undersigned counsel’s calendar has been completely full

     the past couple of weeks and the following weeks appear to be full

     with depositions, mediations, settlement conferences and hearings in

     different and separate unrelated matters, the undersigned has not

     been able to finalize Plaintiff’s Court interrogatories.

  3. The undersigned is waiting for Plaintiff’s verified answers.

  4. Because Plaintiff has not provided the undersigned her verified

     Answers to Court’s Interrogatories, the filing of such document in

     accordance with the current deadline is not feasible.

  5. Due to the press of litigation, and for the reasons set forth above,

     Plaintiffs respectfully request an enlargement of time of 10 days, up

     to and including March 20, 2023, in order to file Plaintiff’s Answers to

     Court Interrogatories.

  6. Pursuant to Fed.R.Civ.P. 6(b), this Court may enlarge a period of time

     in which certain acts are to be done for “cause shown.” The standard

     is a liberal one, and “an application for an enlargement of time under

     Rule 6(b)(1) will normally be granted in the absence of bad faith on

     the part of the party seeking relief or prejudice to the adverse party.”



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     4B Charles Alan Wright & Arthur R. Miller, Federal Practice and

     Procedure, § 1165 at 552 (3d ed. 2002).

  7. Neither bad faith nor prejudice exists here. This request is submitted

     in good faith and not for purposes of delay.

WHEREFORE, it is respectfully requested that this Court Grants Plaintiffs’

Motion for Extension of Time up to and including March 20, 2023, to file

Plaintiff’s Verified Answers to Court Interrogatories.

Dated: March 9, 2023
                                   Respectfully submitted,

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                        CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 9, 2023, I electronically filed
     the foregoing document with the Clerk of the Court using CM/ECF. I
     also certify that the foregoing document is being served this day on
     all counsel of record or pro se parties identified on the attached
     Service List in the manner specified, either via transmission of
     Notices of Electronic Filing generated by CM/ECF or in some
     authorized manner for those counsel or parties who are not
     authorized to receive electronically Notices of Electronic Filing.


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